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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


KHOLKAR VISHVESHWAR GANPAT,           *                CIVIL ACTION
    Plaintiff,                        *
                                      *                NO. 2:18-CV-13556 “E” (4)
                                      *
VERSUS                                *
                                      *                JUDGE SUSIE MORGAN
EASTERN PACIFIC SHIPPING PTE. LTD., *
d/b/a/ “EPS,”                         *                MAG.JUDGE KAREN WELLS ROBY
        Defendant.                    *
***************************************

    PLAINTIFF’S MEMORANDUM IN RESPONSE TO THIS COURT’S REQUEST FOR
    ANY PRECEDENT OR SUPPORT FOR THE RELIEF REQUESTED IN PLAINTIFF’S
      MOTION FOR COURT ASSISTANCE TO OBTAIN VISA TO ATTEND TRIAL

         NOW INTO COURT, through undersigned counsel, comes Kholkar Vishveshwar Ganpat

(“Plaintiff”) who hereby responds to this Honorable Court’s request dated September 30, 2022,

for any precedent or support for the relief requested in the Motion1. In support of this request

Plaintiff states as follows:

         1.     The jury trial for this matter is set to begin on November 14, 2022, in New Orleans,

Louisiana. On January 25, 2022, this Court issued an Order2 which requires Plaintiff to appear in

this forum. The Order states that “the Court may, if necessary, compel Plaintiff’s appearance

because he is subject to the jurisdiction of this Court.”

         2.     Plaintiff resides in India and despite best and continuing efforts, he has not been

able to obtain a visa to attend his trial in the United States. Plaintiff attended an emergency

appointment at the U.S. Consulate in Mumbai on May 13, 2022, submitted a copy of this Court’s

January 25, 2022 Order to the consular officer during his interview and informed the officer that



1
    Rec Doc. 351
2
    Rec Doc. 221
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he was required to appear at the trial in New Orleans which starts on November 14, 2022.

Nevertheless, Plaintiff’s application for the B1/B2 visa was rejected and he was told to re-apply.

        3.       Plaintiff is willing to travel to New Orleans to attend trial as scheduled. Pursuant to

the instructions provided by the U.S. Consulate in India, Plaintiff is required to demonstrate to a

consular officer that he qualifies for a U.S. visa in accordance with the U.S. Immigration and

Nationality Acts (INA), as Section 214(b) of the INA presumes that every applicant is an intending

immigrant. Plaintiff must overcome this legal presumption by showing:

                 a. That the purpose of Plaintiff’s trip to the United States is for a
                    temporary visit;

                 b. That Plaintiff plans to remain in the United States for a specific,
                    limited period time;

                 c. Evidence of funds to cover Plaintiff’s expenses while in the
                    United States; and

                 d. That Plaintiff has residence outside of the United States, as well
                    as other binding social or economic ties, that will ensure
                    Plaintiff’s return aboard at the end of his visit.

        4.       Moreover, according to the U.S. Department of State – Bureau of Consular Affairs

website, in accordance with Department procedures, a consular officer may determine that

additional information from sources other than the applicant may help establish an applicant’s

eligibility for a visa.

        5.       Plaintiff has attempted to obtain a B1/B2 visa without the Court’s intercession on

his behalf. However, based upon Plaintiff’s visa denial after his interview on May 13, 2022, despite

submitting the Order from this Honorable Court, Plaintiff believes that a letter3 from this

Honorable Court to the Consulate in Mumbai stating that Plaintiff is required to attend trial in New



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 A copy of the updated proposed letter to the U.S. Consulate in Mumbai, India is attached as
Exhibit “1”.

                                                   2
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Orleans for the five-day trial period, to be arranged and paid for by Plaintiff’s counsel, is a

sufficient way of overcoming the Section 214(b) of the INA’s legal presumption.

       WHEREFORE, Plaintiff respectfully requests that this Court issue an instructional letter

to the U.S. Consulate to assist Plaintiff in obtaining a visa to attend trial in New Orleans.

Dated: October 3, 2022
                                                       Respectfully submitted,

/s/ Pedro P. Sotolongo                                 /s/ Richard M. Martin, Jr.
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/s/ Alejandro J. Gonzalez
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Co-Counsel for Plaintiff, pro hac vice

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing pleading has this day been
forwarded to the following counsel of record to this proceeding by electronic transmission, this
3rd day of October 2022.

     J. Stephen Simms                           Michael H. Bagot, Jr. T.A.
     Thomas Brown                               Thomas A. Rayer, Jr.
     Catherine M. Benson                        Wagner, Bagot & Rayer LLP
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                                                              /s/ Pedro P. Sotolongo
                                                              Pedro P. Sotolongo


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